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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
JJD                                                 271 Cadman Plaza East
F. #2020R00632                                      Brooklyn, New York 11201



                                                    March 11, 2025

TO BE FILED UNDER SEAL

The Honorable Joan M. Azrack
United States District Judge
Eastern District of New York
920 Federal Plaza
Central Islip, New York 11721

               Re:    United States v. Cesar Lopez-Larios
                      Criminal Docket No. 20-577 (JMA)

Dear Judge Azrack:

               The government respectfully submits this motion requesting that the Court dismiss
the above-captioned indictment against the defendant Cesar Lopez-Larios (the “defendant” and
“Lopez-Larios”) without prejudice, pursuant to Rule 48(a) of the Federal Rules of Criminal
Procedure, because, as set forth below, the United States has determined that sensitive and
important foreign policy considerations outweigh the government’s interest in pursuing the
prosecution of the defendant, under the totality of the circumstances, and therefore require
dismissal of the case. A proposed order of dismissal is attached hereto and the government is
respectfully requesting that the Court grant this dismissal this evening given operational
considerations.

       I.      Background

                On December 16, 2020, a grand jury sitting in the Eastern District of New York
returned the above-captioned indictment (the “Indictment”), charging the defendant and 13 other
high-ranking leaders of La Mara Salvatrucha, also known as the “MS-13,” with: (1) Conspiracy to
Provide or Conceal Material Support to Terrorists, in violation of 18 U.S.C. § 2339A; (2)
Conspiracy to Commit Acts of Terrorism Transcending National Boundaries, in violation of 18
U.S.C. § 2332b; (3) Conspiracy to Finance Terrorism, in violation of 18 U.S.C. § 2339C; and (4)
Narco-Terrorism Conspiracy, in violation of 21 U.S.C. § 960a. An arrest warrant was issued for
Lopez-Larios that same day, but he was a fugitive for more than three years, until he was arrested
by the Federal Bureau of Investigation (FBI) and Homeland Security Investigations (HSI) on June
9, 2024 when he arrived at George Bush Intercontinental Airport in Houston, Texas. Thereafter,
he made an initial appearance in the Southern District of Texas and he was ordered to be removed
in custody to the Eastern District of New York, where he is pending trial on the above charges.
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                Due to geopolitical and national security concerns of the United States, and the
sovereign authority of the Executive Branch in international affairs, the United States is dismissing
the indictment against the defendant without prejudice, so that El Salvador can proceed first with
its criminal charges against the defendant under Salvadoran law.

       II.     Legal Standard

                Rule 48(a) provides that “The government may, with leave of court, dismiss an
indictment, information, or complaint.” Although the Rule requires leave of the court, the Second
Circuit has explained that a “court is generally required to grant a prosecutor’s Rule 48(a) motion
unless dismissal is ‘clearly contrary to manifest public interest.’” United States v. Pimentel, 932
F.2d 1029, 1033 n.5 (2d Cir.1991) (quoting United States v. Cowan, 524 F.2d 504, 513 (5th
Cir.1975)). The rationale behind this general rule is that the “Executive remains the absolute judge
of whether a prosecution should be initiated and the first and presumptively the best judge of
whether a pending prosecution should be terminated.” Cowan, 524 F.2d at 513. As the Supreme
Court has stated, “[t]he principal object of the ‘leave of court’ requirement is apparently to protect
a defendant against prosecutorial harassment, e.g., charging, dismissing, and recharging, when the
Government moves to dismiss an indictment over the defendant’s objection . . . . But the Rule has
also been held to permit the court to deny a Government dismissal motion to which the defendant
has consented if the motion is prompted by considerations clearly contrary to the public interest.”
Rinaldi v. United States, 434 U.S. 22, 30 n.15 (1977) (internal citation omitted). Although “the
prosecution does not have the burden of proof to show that dismissal is in the public interest,”
district courts have held that the government “is under a duty to provide sufficient reasons to the
court that amount to more than a mere conclusory interest.” United States v. KPMG LLP, No. 05
Cr. 903, 2007 WL 541956, at *5 (S.D.N.Y. Feb. 15, 2007). The standard to show a manifest public
interest is limited to “extraordinary cases where it appears the prosecutor is motivated by
considerations clearly contrary to the public interest” and the presumption is that the Government
is acting in good faith. See id. at *5 (identifying as examples of contrary to the public interest
when “the prosecutor appears motivated by bribery, animus towards the victim, or a desire to
attend a social event rather than trial.”); -
                                            see also --------------------
                                              - ---  United States v. Jacobo-Zavala, 241 F.3d 1009,
1012 (8th Cir.2001) (“[T]he presumption of regularity supports [the Government's] prosecutorial
decisions and, in the absence of clear evidence to the contrary, courts presume that the[ ]
[Government] ha[s] properly discharged [its] official duties.”); United States v. Salinas, 693 F.2d
348, 351 (5th Cir.1982) (“Neither the trial court nor this Court on appeal can substitute its judgment
for the prosecutor's determination [of the public interest] or can second guess the prosecutor's
evaluation.”)).

                Dismissal pursuant to Rule 48(a) is generally without prejudice. See United States
v. Ortega-Alvarez, 506 F.2d 455, 458 (2d Cir. 1974) (per curiam) (“The rule is that when an
indictment is dismissed before trial upon the government’s motion under Rule 48(a) of the Federal
Rules of Criminal Procedure, the dismissal is without prejudice to the government’s right to
reindict for the same offense, unless the contrary is expressly stated.”). Courts dismiss cases with
prejudice only where the prosecutor acted in bad faith or where dismissal followed by recharge
would amount to prosecutorial harassment. See United States v. Doody, No. 01 Cr. 1059, 2002
WL 562644, at *2 (S.D.N.Y. Apr. 16, 2002). One court has noted that “no appellate court has
upheld a denial of a motion to dismiss, where the defendant has consented to the dismissal,



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grounded on a finding of ‘bad faith’ or action ‘contrary to the public interest’ alone.” KPMG,
2007 WL 541956, at *6.

       III.    Motion to Dismiss

               As the government has previously explained to the Court, the evidence in this case
is strong and the defendant was investigated, charged and has been prosecuted consistent within
the appropriate principles of federal prosecution. See Justice Manual § 9-27.220.

                Pursuant to Justice Manual § 9-2.159, substantial reasons of geopolitical, national
security, foreign policy or related concerns may require the Department to abandon an
investigation, forego litigation, or seek dismissal of a case. Accordingly, the government hereby
moves to dismiss the pending charges against the defendant without prejudice, in order to permit
the prosecution of the defendant to proceed in the first instance in El Salvador. See Justice Manual
§ 9-2.159 (“Situations may arise where substantial reasons of national security, foreign policy or
the like may require the Department to abandon an investigation, forego litigation, or seek
dismissal of a case.”).

       IV.     Conclusion and Sealing Request

                Accordingly, the government respectfully requests that the Court dismiss the
indictment against the defendant without prejudice pursuant to Federal Rule of Criminal Procedure
48(a), this evening.

                Lastly, the government respectfully requests that this letter be kept under seal given
significant operational concerns, including the safety of the officers transferring the defendant.
Further, public disclosure of this motion before that date could cause harm to the government’s
relationship with a foreign ally. See United States v. Trabelsi, No. CR 06-89 (RWR), 2015 WL
5175882, at *8 (D.D.C. Sept. 3, 2015) (granting request to seal documents produced to defendant
in part due to “the government's representations regarding the potential harm to the relationship
between the United States and its foreign allies”); United States v. Amodeo, 71 F.3d 1044, 1050
(2d Cir. 1995) (sealing appropriate to protect law enforcement interests). The government
respectfully submits that this request is narrowly tailored and appropriately balances the
government’s compelling interests with the public’s qualified right to access this document. See
United States v. Doe, 63 F.3d 121, 128 (2d Cir. 1995); United States v. Haller, 837 F.2d 84, 87
(2d Cir. 1988).

                                                      Respectfully submitted,


                                                  By: /s/ John Durham
                                                     John J. Durham
                                                     United States Attorney
                                                     Eastern District of New York


cc:    Jeffrey Pittell, Esq. (by email)


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